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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3031
          v.                        )
                                    )
MARIA DE LOS ANJELES MENDEZ,        )
                                    )                    ORDER
                Defendant.          )
                                    )



     An entry of appearance for defendant has been filed by
attorney Robert B. Creager.

     IT THEREFORE HEREBY IS ORDERED,

     The motion of James H. Hoppe to withdraw, filing 58, is
granted.

     DATED this 10th day of March, 2006.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
